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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

   AMAZON.COM, INC. and AMAZON DATA
   SERVICES, INC.,
                 Plaintiffs,
          v.
                                                             CASE NO. 1:20-CV-484-LO-TCB
   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS; et al.,
                 Defendants.

   800 HOYT LLC,
                 Intervening Interpleader Plaintiff /
                 Intervening Interpleader Counter-
                 Defendant,
          v.
   BRIAN WATSON; WDC HOLDINGS, LLC; BW
   HOLDINGS, LLC,
                 Interpleader Defendants,
          and
   AMAZON.COM, INC., and AMAZON DATA
   SERVICES, INC.,
                 Interpleader Defendants / Interpleader
                 Counter-Plaintiffs.

                    NOTICE OF WITHDRAWAL OF BRIAN WATSON’S
                         MOTION TO COMPEL DISCOVERY

         On February 11, 2022, Defendant Brian Watson filed his Motion to Compel Discovery,

  Dkt. 524, wherein he asked the Court to compel Amazon.com, Inc. and Amazon Data Services,

  Inc. (together, “Amazon”) to provide him with adequate responses to certain interrogatories and

  requests for production of documents. The hearing on that motion was set for February 18, 2022.


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  Upon referral to Magistrate Judge Buchanan, the hearing was rescheduled for February 28, 2022,

  Dkt. 531. Two days later, Mr. Watson and the other Watson Defendants filed an Unopposed

  Motion for an Order Extending the Discovery Deadline and Holding in Abeyance Watson’s

  Motion to Compel, Dkt. 542. The Court granted that motion and ordered that Watson’s motion to

  compel be held in abeyance until further notice, Dkt. 556.

         Mr. Watson now files this Notice to inform the Court and other parties that he is

  withdrawing his Motion to Compel Discovery.



  Dated: August 10, 2022                              Respectfully submitted,

                                                      /s/ Jeffrey R. Hamlin            .
                                                      Jeffrey R. Hamlin (VA Bar No. 46932)
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                                                      Attorneys for Defendants Brian Watson,
                                                      WDC Holdings LLC dba Northstar
                                                      Commercial Partners, Sterling NCP FF,
                                                      LLC, Manassas NCP FF, LLC, and NSIPI
                                                      Administrative Manager




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                                    CERTFICATE OF SERVICE

         I hereby certify that the foregoing Notice of Withdrawal of Brian Watson’s Motion to

  Compel Discovery will be filed with the Clerk using the Court’s CM/ECF system, which will

  send a notification of electronic filing (“NEF”) to all counsel of record. I further certify that I

  will serve pro se Defendant Casey Kirschner by U.S. Mail First Class to the following address:

  635 N. Alvarado Lane, Plymouth, MN 55447.



                                                 /s/ Jeffrey R. Hamlin
                                                 Jeffrey R. Hamlin (VSB 46932)




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